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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


DEUTSCHE BANK NATIONAL TRUST
COMPANY, solely in its capacity as
Trustee for the MORGAN STANLEY
STRUCTURED TRUST I 2007-1,

                     Plaintiff,        No. 14-CV-3020 (KBF)
             v.

MORGAN STANLEY MORTGAGE
CAPITAL HOLDINGS LLC, as
Successor-by-Merger to MORGAN
STANLEY MORTGAGE CAPITAL INC.,

                     Defendant.




          PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION TO
       DEFENDANT’S MOTION FOR JUDGMENT ON THE PLEADINGS AND
              RENEWED MOTION FOR SUMMARY JUDGMENT




                                               Steven F. Molo
                                               Robert K. Kry
                                               Justin V. Shur
                                               Lauren M. Weinstein
                                               MOLOLAMKEN LLP
                                               430 Park Avenue
                                               New York, New York 10022
                                               (212) 607-8160 (telephone)
                                               (212) 607-8161 (facsimile)

                                               Attorneys for Plaintiff Deutsche
                                               Bank National Trust Company,
                                               as Trustee for the Morgan Stanley
                                               Structured Trust I 2007-1
February 15, 2018
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                                PRELIMINARY STATEMENT

       Four years into this litigation, Morgan Stanley argues for the first time that this Court

lacks subject-matter jurisdiction. The timing of the motion is no coincidence. Morgan Stanley

has been aware of the factual and legal basis for its arguments throughout the case. But Morgan

Stanley kept these arguments in reserve and waited until a week after this Court denied summary

judgment – rejecting Morgan Stanley’s legal positions on essentially every contested issue –

before seeking a do-over in state court.

       Morgan Stanley’s motion drips with gamesmanship. The rule that a court may consider

its subject-matter jurisdiction at any stage does not mean that a party may roll the dice litigating

a case on the merits – costing the parties and the Court substantial resources – while saving its

jurisdictional arguments as a backup in case things don’t go its way. Once again, Morgan

Stanley’s view seems to be that the Court has jurisdiction over the case only to the extent it rules

in Morgan Stanley’s favor. Cf. Dkt. 161 at 1-2. By any measure, this latest submission is an

abuse of the Court’s process.

       Even more astounding is Morgan Stanley’s renewed motion for summary judgment, filed

nine months after the dispositive motion deadline. When the First Department decided Deutsche

Bank National Trust Co. v. Barclays Bank PLC, 156 A.D.3d 401 (1st Dep’t 2017), Morgan

Stanley expressly sought this Court’s permission to brief the statute of limitations issue. Dkt.

135 at 1. This Court said no: “The Court does not require any additional briefing at this time.

The Court will inform the parties if its view on this subject changes.” Dkt. 137. The Court never

so informed the parties. But Morgan Stanley went ahead and briefed the issue anyway, in

contravention of this Court’s directives and without even requesting permission to do so.

       In any event, Morgan Stanley’s arguments are as meritless as they are improper. The

Supreme Court made perfectly clear in Navarro Savings Ass’n v. Lee, 446 U.S. 458 (1980), that
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where a trustee brings suit in its own name, what matters for purposes of diversity jurisdiction is

the citizenship of the trustee. The only exception is where the plaintiff is a mere “sham” or

“naked” trustee. Morgan Stanley does not come close to making that showing here.

       Conversely, what matters for purposes of the statute of limitations is where the trust

suffered injury. Here, the Trust was formed as a New York common-law trust governed by New

York law, and there are no facts that point to any other state as the primary locus of the injury.

Morgan Stanley claims that Barclays holds otherwise, but that case could not be more different.

To take just one example, in Barclays, the properties that secured the mortgage loans were

located either “exclusively” or “predominantly” in California. 156 A.D.3d at 402. Here, by

contrast, only 13% of the loans are for California properties. Pl.’s 56.1 Resp. ¶ 9.1 Thus, the

critical facts that Barclays relied on to find that a New York trust suffered injuries in some other

state simply are not present here.

       It is time for Morgan Stanley to stop filing meritless dispositive motions and start

preparing for trial. Morgan Stanley’s latest motions should be denied.

                                     STANDARD OF REVIEW

       On a motion for judgment on the pleadings, the Court must “ ‘accept all factual

allegations in the complaint as true and draw all reasonable inferences’ in favor of the [non-

moving party].” Bank of N.Y. v. First Millennium, Inc., 607 F.3d 905, 922 (2d Cir. 2010).

Summary judgment is appropriate only where “the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.



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  Certain exhibits to the Declaration of Robert K. Kry cited in the Trustee’s Response to
Defendant’s Local Rule 56.1 Statement of Undisputed Material Facts in Support of Its Renewed
Motion for Summary Judgment (“Pl.’s 56.1 Resp.”) have been filed under seal pursuant to the
Stipulation and Order for the Filing Under Seal of Confidential Documents entered on May 5,
2017 (Dkt. 107).


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56(a). The Court must “view the evidence in the light most favorable to the non-moving party

and draw all reasonable inferences in its favor,” and “may grant summary judgment only when

‘no reasonable trier of fact could find in favor of the nonmoving party.’ ” Allen v. Coughlin, 64

F.3d 77, 79 (2d Cir. 1995). “Where a defendant requests summary judgment on the ground that

the statute of limitations on plaintiff ’ s claim has run, the defendant bears the burden of proving

that the particular limitation period has expired.” Haimowitz v. Novartis Pharm. Corp., 148 F.

Supp. 3d 327, 330 (S.D.N.Y. 2015).

                                            ARGUMENT

I.     THIS COURT HAS SUBJECT-MATTER JURISDICTION

       A.      The Trustee’s Citizenship Controls for Diversity Purposes

       For the first time, four years into the litigation, Morgan Stanley contends that this Court’s

diversity jurisdiction turns on “the citizenship of MSST’s certificateholders,” which is not

alleged in the Complaint. MS Br. 4. That argument flies in the face of over two hundred years

of precedent holding that where, as here, a trustee sues in its own name, it may assert jurisdiction

on the basis of its own citizenship, not the citizenship of the trust’s beneficiaries.

       The Supreme Court decided this precise issue in Navarro Savings Ass’n v. Lee, 446 U.S.

458 (1980). The Court explained that, “[a]s early as 1808, [it had] stated that trustees of an

express trust are entitled to bring diversity actions in their own name and upon the basis of their

own citizenship.” Id. at 462 (citing Chappedelaine v. Dechenaux, 8 U.S. (4 Cranch) 306, 308

(1808)). “ ‘[T]he residence of those who may have the equitable interest’ is simply irrelevant.”

Id. at 463 (quoting Bonnafee v. Williams, 44 U.S. (3 How.) 574, 577 (1845)). The Court

reiterated that rule just two years ago in Americold Realty Trust v. Conagra Foods, Inc., 136 S.

Ct. 1012 (2016), holding that “when a trustee files a lawsuit . . . in her own name, her citizenship

is all that matters for diversity purposes.” Id. at 1016 (emphasis added).


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       Morgan Stanley simply ignores that well-settled law. Morgan Stanley characterizes

Navarro as creating an “exception” to a general rule that the citizenship of trust beneficiaries is

what matters. MS Br. 3. But there was nothing exceptional about Navarro’s holding. Rather,

“Navarro reaffirmed [the] separate rule that when a trustee files a lawsuit in her name, her

jurisdictional citizenship is the State to which she belongs – as is true of any natural person.”

Americold, 136 S. Ct. at 1016; see also E.R. Squibb & Sons, Inc. v. Accident & Cas. Ins. Co., 160

F.3d 925, 931 (2d Cir. 1998) (recognizing that “the Supreme Court has deemed the citizenship of

the trustees to be determinative”). As the Court explained, “[t]he relative simplicity of this

established principle is one of its virtues.” Navarro, 446 U.S. at 464 n.13 (citation omitted).

       Morgan Stanley tries to muddy the waters by pointing to cases where the suit was

brought in the name of the trust rather than the trustee. As Morgan Stanley notes, “ ‘the method

for determining a trust’s citizenship [is] long unsettled and the subject of much debate.’ ” MS

Br. 4-5 (emphasis added). In Americold, for example, the plaintiff was a Maryland real estate

investment trust, and the Supreme Court held that the trust “possesses its members’ citizenship”

because “when an artificial entity is sued in its name, it takes the citizenship of each of its

members.” 136 S. Ct. at 1015-16. By contrast, in Raymond Loubier Irrevocable Trust v.

Loubier, 858 F.3d 719 (2d Cir. 2017), certain parties were common-law trusts, and the Second

Circuit held that their citizenship would be determined by the citizenship of the trustees even

though the suit had been brought in the name of the trusts. Id. at 729-31.

       Whatever uncertainty may surround a trust’s citizenship, however, is irrelevant where the

suit is brought in the name of the trustee, as it was here. On that question, the law could hardly

be clearer. As the Supreme Court held in Navarro and reaffirmed in Americold, “when a trustee

files a lawsuit in her name, her jurisdictional citizenship is the State to which she belongs.” 136




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S. Ct. at 1016 (second emphasis added); see also Loubier, 858 F.3d at 722 (where a suit is

“brought by or against . . . trustees . . . it is the trustees’ citizenship, not that of beneficiaries, that

matters for purposes of diversity”). That principle is a “separate rule” that “coexists” with the

framework for determining the citizenship of trusts themselves. Americold, 136 S. Ct. at 1016.

        Morgan Stanley claims that Loubier “rejected a construction of Americold that would

cause diversity jurisdiction to turn solely on the caption of the complaint.” MS Br. 6. But the

only thing Loubier held in that regard was that the trustee’s citizenship governs even for certain

suits brought in the name of the trust. 858 F.3d at 731 (holding that “where a traditional trust is

mistakenly identified as a party even though, by its nature, it can only sue or be sued in the name

of its trustee, diversity jurisdiction is properly identified by reference to . . . the trustee”).

Nothing in that discussion purports to modify the settled rule that, where a suit is actually

brought in the name of the trustee, the trustee’s citizenship governs.

        B.      The Trustee Is Not a “Naked” or “Sham” Trustee

        Navarro did recognize one exception to the rule that the trustee’s citizenship governs.

Where a trustee is a mere “naked” or “sham” trustee, the Court explained, it should be deemed

not to be the “real party to the controversy for purposes of diversity jurisdiction.” 446 U.S. at

464-66. But Morgan Stanley comes nowhere close to showing that this principle applies here.

        In Navarro, the Court relied on three factors to conclude that the trustees at issue were

not sham parties: (1) the trustees “possesse[d] certain customary powers to hold, manage, and

dispose of assets for the benefit of others”; (2) the trustees “operated under a declaration of trust

that authorized the trustees to take legal title to trust assets, to invest those assets for the benefit

of the shareholders, and to sue and be sued in their capacity as trustees”; and (3) the beneficiaries

“had no voice in the initial investment decision” and could “neither control the disposition of




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th[e] action nor intervene in the affairs of the trust except in the most extraordinary situations.”

446 U.S. at 464-66. Each of those factors is present here, too.

        First, the Trustee possesses customary powers to hold, manage, and dispose of trust

assets, and operates under an instrument that empowers it to exercise those functions on behalf of

the Trust. The Pooling and Servicing Agreement expressly conveys to the Trustee “all the right,

title and interest . . . in and to the Trust Fund,” Weinstein Decl. Ex. B (“PSA”) § 2.01, and

authorizes it to “continue to hold . . . all . . . assets of the Trust Fund . . . for the use and benefit of

all present and future Holders of the Certificates,” id. § 2.02(a). The Trustee “agree[d] to hold

the Trust Fund and exercise the rights [granted in the PSA] . . . for the benefit of all present and

future Holders of the Certificates,” and “to perform the duties set forth [in the PSA].” Id.

§ 2.06(a). Those duties include, among other things, (1) giving prompt written notice of breaches

of representations and warranties upon notice or discovery thereof, id. § 2.03(a); (2) examining

documents required to be furnished to the Trustee to determine whether they are in the required

form, id. § 10.01(b); and (3) performing the obligations of the Securities Administrator, including

distributing payments, if the Trustee learns that the Securities Administrator has failed to

perform those functions, id. § 10.12.

        The Trustee can also sue and be sued in its capacity as trustee. The PSA expressly

authorizes the Trustee to “enforce the obligation of the Sellers under the [MLPA] . . . to

repurchase . . . any Mortgage Loan for which a breach of a representation or warranty made by

such party exists and . . . the obligation of the Sponsor to repurchase . . . any Mortgage Loan

originated by Accredited.”       PSA § 2.02(d); see also Weinstein Decl. Ex. F, Compl. Ex. 1

(“MLPA”) § 10.




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       Finally, as in Navarro, the certificateholders have no voice in the initial investment

decision and cannot intervene in the affairs of the Trust “except in the most extraordinary

situations.” 446 U.S. at 466. The PSA expressly states that “[n]o Certificateholder shall have

any right to vote . . . or in any manner otherwise control the operation and management of the

Trust Fund, or the obligations of the parties [under the PSA].” PSA § 12.08. And under the

PSA’s no-action clause, no certificateholder may “institute any suit, action or proceeding in

equity or law upon or under or with respect to [the PSA]” unless it meets certain very specific

and demanding requirements. Id.2

       Consistent with that structure, court after court has found that RMBS trustees suing in

their own names qualify as real parties in interest entitled to invoke diversity jurisdiction on the

basis of their own citizenship. In Wells Fargo Bank, N.A., Trustee for the Registered Holders of

Salomon Bros. Mortgage Securities VII Inc., Mortgage Pass-Through Certificates v. Konover

Development Corp., 630 F. App’x 46 (2d Cir. 2015), for example, the Second Circuit rejected

the same argument Morgan Stanley makes here, holding that an RMBS trustee was not a

“ ‘naked trustee [ ] who act[s] as [a] mere conduit [ ] for a remedy flowing to others.’ ” Id. at 49

(quoting Navarro, 446 U.S. at 465). Because the trustee “retain[ed] ‘certain customary powers




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  To sue under the PSA, a certificateholder must: (1) provide “written notice of an Event of
Default”; (2) represent the interests of “not less than 25% of the Voting Rights” in the Trust;
(3) have previously made a “written request to the Trustee or the Securities Administrator . . . to
institute such action, suit or proceeding in its own name”; (4) have offered “the Trustee or the
Securities Administrator . . . such reasonable indemnity as it may require”; and (5) have waited
60 days after satisfying the first four requirements for the Trustee or Securities Administrator to
act. PSA § 12.08. Those are demanding requirements that are rarely satisfied. See, e.g., Walnut
Place LLC v. Countrywide Home Loans, Inc., 96 A.D.3d 684, 684 (1st Dep’t 2012) (dismissing
certificateholder action); Fed. Hous. Fin. Agency v. WMC Mortg., LLC, No. 13 Civ. 584, 2015
WL 9450833, at *5 (S.D.N.Y. July 10, 2015) (similar). They easily qualify as the sort of
“extraordinary situations” the Court envisioned in Navarro. 446 U.S. at 465.


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to hold, manage, and dispose of assets’ for the trust’s beneficiaries” and was “bringing suit to

enforce a judgment in its name,” it could invoke its own citizenship for diversity purposes. Id.

       Similarly, in Bynane v. Bank of N.Y. Mellon, as Trustee for CWMBS, Inc. Asset-Backed

Certificates Series 2006-24, 866 F.3d 351 (5th Cir. 2017), the Fifth Circuit held that “[the

trustee’s] citizenship, not the trust’s shareholders’ citizenships, is relevant for determining

diversity jurisdiction.” Id. at 358. The court concluded that the mortgage-backed securitization

trustee in that case had “ ‘real and substantial control’ ” because the PSA granted the trustee “ ‘all

right, title, and interest in and to the Initial Mortgage Loans,’ ” while “the certificateholders ha[d]

only limited rights to vote or otherwise control the operation of the trust.” Id. Numerous other

courts have agreed.3

       Morgan Stanley argues that the Trustee cannot be a real trustee because it “does not have

a fiduciary obligation to the certificateholders” and “lacks the traditional fiduciary duties of

loyalty, care, or good faith.” MS Br. 6. But nothing in Navarro’s analysis turned on whether the

trustee’s duties were governed by common-law fiduciary duties rather than contractual standards.

Navarro focused on the trustee’s authority to take certain actions (and the absence of such

authority for beneficiaries) – not the legal standards that governed the trustee’s obligations. 446

U.S. at 464-66.      Navarro specifically held that the fact that a trust “may depart from

conventional forms in other respects has no bearing upon this determination.” Id. at 465. The

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  See, e.g., U.S. Bank Nat’l Ass’n v. UBS Real Estate Sec., Inc., 205 F. Supp. 3d 386, 409
(S.D.N.Y. 2016) (Castel, J.) (“[T]he citizenship of U.S. Bank, as Trustee, is controlling for the
purposes of the diversity analysis.”); U.S. Bank Nat’l Ass’n v. Nesbitt Bellevue Prop. LLC, 859
F. Supp. 2d 602, 608 (S.D.N.Y. 2012) (Koeltl, J.) (trustee was a “ ‘real and substantial party
for diversity purposes’ ”); Halley v. Deutsche Bank Nat’l Trust Co., No. CV H-15-1174, 2016
WL 3855872, at *1 (S.D. Tex. July 15, 2016); Bank of N.Y. Mellon v. Townhouse S. Ass’n,
No. 16-cv-208, 2016 WL 3563503, at *2-3 (D. Nev. June 29, 2016); Philip v. Deutsche Bank
Nat’l Trust Co. as Trustee for Securitized Asset Backed Receivables LLC Trust 2006-WM3,
No. 11 Civ. 8960, 2014 WL 4953572, at *4 & n.13 (S.D.N.Y. Sept. 30, 2014), aff ’d, 636 F.
App’x 5 (2d Cir. 2015).


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absence of common-law fiduciary duties was not relevant in any of the many other RMBS cases

that have followed Navarro, and it is not relevant here, either.

       Morgan Stanley also asserts that the Trustee is “not only subject to the control of the

certificateholders, but in this very litigation it is acting at the direction of its certificateholders,

who can control the disposition of this action.” MS Br. 8 (quotation marks omitted). But

Morgan Stanley provides no support for that claim. This is a motion for judgment on the

pleadings, and the only allegations about certificateholder involvement in the Complaint relate to

a certificateholder’s pre-suit investigation and notice.        Compl. ¶¶ 47-48.     Further, Morgan

Stanley has not met its burden of showing that, even in cases where an RMBS trustee initiates

litigation pursuant to a certificateholder’s direction, the certificateholder rather than the trustee

exercises any particular level of “control” over the litigation. In any event, Navarro held that the

trustee was not a sham trustee in that case even though beneficiaries could “control the

disposition of th[e] action [or] intervene in the affairs of the trust” in “extraordinary situations.”

446 U.S. at 464-65. Morgan Stanley shows no basis for a different result here.

       None of Morgan Stanley’s arguments comes close to showing that the Trustee is a sham

party whose citizenship should be disregarded for diversity purposes.             The arguments that

Morgan Stanley makes could be directed at virtually any RMBS trustee. Yet courts have

repeatedly rejected such arguments, properly concluding that RMBS trustees are entitled to

invoke their own citizenship for diversity purposes. Morgan Stanley offers no good reason why

this Court should depart from that settled precedent.




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II.    THE TRUSTEE’S COMPLAINT IS NOT BARRED BY THE STATUTE OF LIMITATIONS

       In addition to challenging this Court’s jurisdiction, Morgan Stanley also seeks summary

judgment on the statute of limitations, claiming that the First Department’s recent decision in

Deutsche Bank National Trust Co. v. Barclays Bank PLC, 156 A.D.3d 401 (1st Dep’t 2017),

renders the Trustee’s Complaint untimely as a matter of law. The Court should not even reach

that argument. Morgan Stanley filed this summary judgment motion nine months after the

deadline and in direct violation of this Court’s instructions not to brief the issue. But even if the

Court considers the motion, it should deny it. The Trustee’s Complaint is timely, and nothing in

Barclays alters that conclusion.

       A.      Morgan Stanley’s Motion Should Be Denied Because It Was Filed in
               Violation of This Court’s Orders

       Morgan Stanley does not even attempt to justify the timing of its motion. A party may

move for summary judgment “at any time until 30 days after the close of all discovery,”

“[u]nless . . . the court orders otherwise.” Fed. R. Civ. P. 56(b). Discovery closed on May 5,

2017. Dkt. 104 at 2 & n.1. The Court directed Morgan Stanley to file any “dispositive pre-trial

motions” by May 8, 2017. Id. Morgan Stanley filed a summary judgment motion on that date,

which did not include any statute of limitations argument, even though Morgan Stanley had

asserted a statute of limitations defense in its answer. Dkt. 111; Dkt. 50 at 17 (Second Defense).

       Morgan Stanley’s renewed motion was filed approximately nine months after the

deadline. Dkt. 151. That untimeliness alone is grounds to deny the motion. See, e.g., NAS

Elecs., Inc. v. Transtech Elecs. PTE Ltd., 262 F. Supp. 2d 134, 150 (S.D.N.Y. 2003) (“[F]ailure

to abide by the Court’s scheduling order . . . is sufficient grounds to deny [a party’s] motion for

summary judgment.”); SerVaas Inc. v. Republic of Iraq, 540 F. App’x 38, 42 (2d Cir. 2013)

(affirming denial of summary judgment motion filed more than 30 days after close of discovery).



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       Morgan Stanley has no justification for its late filing. Although the First Department

decided Barclays only recently, that case had been fully briefed for over a year, and the decision

did not purport to overrule any existing binding authority. Nor was there any other obstacle to

Morgan Stanley’s raising the issue sooner. The fact that Morgan Stanley included the defense in

its answer confirms as much.       Raising the issue now is seriously prejudicial.       Courts are

“generally hostile to last-minute summary judgment motions” because, by that point, “the

litigants and the court have already invested many hours in case preparation and development.”

11 Moore’s Federal Practice § 56.60[4][a]-[b] (3d ed. 2017). Moreover, particularly when

viewed in the context of Morgan Stanley’s recent barrage of motions for reconsideration and

other submissions, this latest motion seems part of a deliberate strategy to consume the Trustee’s

and the Court’s time – time that is better spent on trial preparation.

       Although the untimeliness of the motion is reason enough to deny it, Morgan Stanley’s

violations do not stop there. Morgan Stanley also disregarded a specific order of the Court in

filing its motion. When the First Department decided Barclays, Morgan Stanley wrote the Court

to “propose . . . that the parties brief the [statute of limitations] issue after either the Court of

Appeals has issued a decision in Barclays or leave to appeal is denied.” Dkt. 135 at 1. Morgan

Stanley added that, “[o]f course, we are happy to brief the issue now if that would be the Court’s

preference.” Id. This Court responded: “The Court does not require any additional briefing at

this time. The Court will inform the parties if its view on this subject changes.” Dkt. 137.

       Morgan Stanley’s solicitude for the Court’s preferences was evidently short-lived. The

Court never informed the parties that it wanted briefing on the statute of limitations. Yet Morgan

Stanley filed its renewed motion anyway, raising the exact same arguments the Court told it not

to. This Court’s clear instructions about the propriety of such a submission at this time was itself




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tantamount to a scheduling order whose violation justifies denial of the motion. See NAS Elecs.,

262 F. Supp. 2d at 150 (failure to abide by scheduling order grounds for denying summary

judgment); Rosario-Diaz v. Gonzalez, 140 F.3d 312, 315 (1st Cir. 1998) (noting “unflagging

duty to comply with clearly communicated case-management orders”). Morgan Stanley should

not be permitted to waste the Court’s and the Trustee’s time in the precious few weeks remaining

before trial by filing motions that the Court specifically told it not to.

        B.      The Trustee’s Claims Did Not Accrue in California

        In any event, Morgan Stanley’s argument fails on the merits.           Under New York’s

borrowing statute, “[a]n action based upon a cause of action accruing without the state cannot be

commenced after the expiration of the time limited by the laws of either the state or the place

without the state where the cause of action accrued.” CPLR § 202. Thus, “[w]hen a cause of

action accrues outside New York and the plaintiff is a nonresident,” the court must “ ‘borrow[ ]’

the statute of limitations of the jurisdiction where the claim arose, if shorter than New York’s.”

Norex Petrol. Ltd. v. Blavatnik, 23 N.Y.3d 665, 668 (2014). For purposes of the borrowing

statute, “a cause of action accrues . . . in the place of the injury.” Glob. Fin. Corp. v. Triarc

Corp., 93 N.Y.2d 525, 529 (1999) (emphasis added).

        In this case, the only jurisdiction that can fairly be viewed as the “place of the injury” is

New York. That is the jurisdiction where the Trust was organized and pursuant to whose laws

the Trust is governed. Moreover, unlike in Barclays, there is no other single state that can fairly

be viewed as supplanting New York as the place of injury. Accordingly, the Trustee’s claims

accrued in New York, and the borrowing statute does not apply.




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                1.      The Place of Injury Is New York

        The “injury” in this case is the harm the Trust suffered when it received mortgage loans

that breached their representations and warranties. That injury occurred in New York, the

jurisdiction in which the Trust was organized and pursuant to whose laws it was created.

        In Global Finance, the Court of Appeals explained that “the place of injury usually is

where the plaintiff resides and sustains the economic impact of the loss.” 93 N.Y.2d at 529

(emphasis added). But as courts have recognized, that general plaintiff-residence rule is not a

suitable indicator of the place of injury where the plaintiff is a trustee suing on behalf of a trust.

        In Maiden v. Biehl, 582 F. Supp. 1209 (S.D.N.Y. 1984), for example, the plaintiff trustee

was a New Jersey resident, but the trust was created in New York and had a New York settlor.

Id. at 1217. The court explained that, “[w]here the plaintiff is a trust, the use of the residency of

the trustee as the sole factor to determine the place of accrual does not make sense as a practical

matter, and is not required legally.” Id. “New Jersey [was] not where the economic impact of

the fraud was felt.” Id. Instead, “it [wa]s the Trust itself that suffered the loss, and the loss was

felt in New York,” where “[t]he corpus of the Trust diminished.” Id. at 1218. The court also

noted that “New York is where taxes are paid, where [the trust’s] investment decisions are made,

and where the securities are physically kept.” Id.          “[F]or the purpose of determining the

applicability of the borrowing statute, New York is where the cause of action accrued.” Id.

        Other courts have followed Maiden and taken the same approach.                 See, e.g., 2002

Lawrence R. Buchalter Alaska Trust v. Phila. Fin. Life Assurance Co., 96 F. Supp. 3d 182,

201-02 (S.D.N.Y. 2015) (“ ‘[The] Trust itself . . . suffered the loss, and the loss was felt in

[Alaska]’ ” because “the Trust itself was located in Alaska, and organized under Alaska law.”),

aff ’d, — F. App’x —, 2017 WL 6540498 (2d Cir. Dec. 21, 2017); Appel v. Kidder, Peabody &

Co., 628 F. Supp. 153, 156 (S.D.N.Y. 1986) (place of injury is where “financial harm [was]


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sustained by the trust”). In Barclays, the First Department held that it “need not decide” whether

the plaintiff-residence rule or the Maiden test applies to RMBS trusts because, on the particular

facts of that case, the claims accrued in California either way. 156 A.D.3d at 402. But for the

reasons well articulated in Maiden and subsequent cases, the residence of the trustee is not a

suitable guide to where the “injury” occurred in RMBS cases. There is no reason to suspect that

New York courts would reject Maiden’s approach if squarely presented with the issue.4

       Under Maiden, the “injury” in this case occurred in New York. The Trustee filed this

lawsuit solely in its representative capacity as Trustee of the MSSTI 2007-1 Trust to recover

losses that “[t]he Trust, and consequently Certificateholders . . . , suffered.”      Compl. ¶ 4

(emphasis added). The Trust was expressly created as a “New York common law trust.” PSA

§ 1.01, at 53 (emphasis added). The PSA is “governed by the substantive laws of the State of

New York.” Id. § 12.03. The governing agreements were drafted and negotiated in New York.

Pl.’s 56.1 Resp. ¶ 35. And Bear Stearns, the Depositor that conveyed the breaching loans to the

Trust, was based in New York. Id. ¶ 36. All of those facts confirm that the Trust was based in

New York and thus suffered injury in New York when it received the breaching loans there. See

Maiden, 582 F. Supp. at 1218 (finding that place of injury was New York because, “[f]rom all

the facts presented on this motion, it is clear that the Trust is located in New York”); 2002

Lawrence R. Buchalter Alaska Trust, 96 F. Supp. 3d at 201-02 (injury occurred in Alaska




4
 Courts have applied the plaintiff-residence rule in RMBS cases only where the plaintiff was a
certificateholder suing to redress its own injury. See, e.g., Commerzbank AG v. Deutsche Bank
Nat’l Trust Co., 234 F. Supp. 3d 462, 469 (S.D.N.Y. 2017); IKB Int’l S.A. v. Morgan Stanley, 45
Misc. 3d 1212(A), 2014 WL 5471650, at *3-4 (Sup. Ct. N.Y. Cnty. Oct. 28, 2014); Deutsche
Zentral-Genossenschaftsbank AG, N.Y. Branch v. Citigroup, Inc., 44 Misc. 3d 1228(A), 2014
WL 4435991, at *1 (Sup. Ct. N.Y. Cnty. Sept. 8, 2014).


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because trust “was located in Alaska, and organized under Alaska law”). The place of injury in

this case is accordingly New York.5

               2.      Nothing in Barclays Requires a Finding That California Supplants New
                       York as the Place of Injury in This Case

       Morgan Stanley claims that Barclays compels a finding that California law applies even

under the Maiden approach. MS Br. 14-15. But it ignores the obvious factual differences

between the two cases. In Barclays, the First Department identified the following factors as

supporting its conclusion that California displaced New York as the place of injury:

(1) the mortgage loans in the trust either “exclusively” (in the case of one trust) or

“predominantly” (in the case of the other trust) encumbered properties located in California;

(2) the loans were “originated by California lenders”; (3) the PSAs “contemplate[d] the payment

of state taxes, if any, in California”; (4) the PSAs “contemplate[d] that the notes may be

maintained in California”; and (5) the trusts were administered in California by a California-

based trustee. 156 A.D.3d at 402-03. Those facts are simply not present in this case.

       First, while the loans in Barclays either “exclusively” or “predominantly” concerned

California properties, only a small fraction of the loans here relate to properties in that state.

Specifically, only 561 of the 4,373 loans – a mere 13% – relate to California properties. Pl.’s

56.1 Resp. ¶ 9. By contrast, a whopping 87% of the loans (3,812) relate to properties outside

California. Id. California is not even the state with the most properties. Id. ¶¶ 9-10.



5
  There is no tension between holding, on the one hand, that the Trustee’s California citizenship
governs for purposes of diversity jurisdiction, and on the other, that the Trust’s New York
connections govern for purposes of determining the place of injury. Those are two different
questions directed at two different issues. See Maiden, 582 F. Supp. at 1217 (“While the
residence of a trustee determines the residence of a trust for the purpose of determining whether
diversity jurisdiction exists, in the context of the borrowing statute, residency is merely a
shorthand method to decide where economic impact is felt.” (citation omitted)).


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       That composition of the Trust is no accident. Morgan Stanley created this Trust to

                                                                                , filling the Trust

with assorted subprime loans from numerous originators and properties nationwide. Pl.’s 56.1

Resp. ¶¶ 37-41. Thus, unlike Barclays, this case does not involve a New York trust filled with

California mortgage loans. It involves a New York trust filled with loans swept up from all

around the country as part of Morgan Stanley’s last-minute garbage collection efforts – a

situation where no other individual state can fairly be viewed as displacing New York as the

place of injury.

       A trust where only 13% of the loans relate to California properties bears no resemblance

to one with “exclusively” or “predominantly” California properties. Barclays mentioned the

location of the properties in its very first sentence analyzing this issue and obviously attached

great significance to that factor in determining where the injury occurred. 156 A.D.3d at 402.

On that front, this case could not be more different from Barclays.6

       Second, while the loans in Barclays were originated exclusively by California lenders,

here the loans were originated by lenders in several different states. Only half of the originators

(six out of eleven) were based in California. Pl.’s 56.1 Resp. ¶¶ 6, 8, 18-27. And those

California originators accounted for only a minority of the loans (2,096 out of 4,373). Id. ¶¶ 28-

33. In that respect too, this case is a far cry from Barclays.




6
 Morgan Stanley relies heavily on the Prospectus Supplement for its assertions about the loan
pool. MS Br. 15. The Prospectus Supplement, however, is a pre-securitization statement of
what Bear Stearns “expect[ed]” the loan pool to include. Weinstein Decl. Ex. D at S-30. It does
not reflect the actual composition of the pool.


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       Third, while the PSA in Barclays expressly contemplated the payment of state taxes in

California, there is no such express indication here. Morgan Stanley admits that this factor is at

best “inconclusive” because “the PSA is ambiguous regarding the state in which the Trust might

have to pay taxes.” MS Br. 15 n.11.

       Fourth, while the governing agreements in Barclays contemplated that the notes

memorializing the mortgage loans could be maintained in California, there is at best a factual

dispute regarding the location of the notes here. The governing agreements for this Trust do not

require that the notes be maintained in California. Pl.’s 56.1 Resp. ¶¶ 12-14. The PSA provides

that the Custodian may be either Wells Fargo, Deutsche Bank National Trust Co., or “any

successor custodian.” PSA § 1.01, at 25; see also id. § 2.01. The Mortgage Loan Schedule lists

only Wells Fargo and two other entities as custodians. Pl.’s 56.1 Resp. ¶¶ 12-13. And Wells

Fargo provided a Maryland – not California – address for its operations as Master Servicer

and Securities Administrator for this Trust. PSA § 12.05(b); see also id. § 1.01, at 23 (defining

the “Corporate Trust Office” of the Securities Administrator as the same Maryland address);

Pl.’s 56.1 Resp. ¶ 14 (Prospectus Supplement lists a “Minneapolis, Minnesota headquarters” for

Wells Fargo).7

       Finally, Barclays considered where the Trustee was located and conducted its trust

administration functions. But genuine issues remain regarding that factor as well. Although the

Trustee’s principal place of trust administration is Santa Ana, California, the Trustee’s

employees performed trust administration services in New York as well. Pl.’s 56.1 Resp. ¶ 48.

In any event, it is hard to see how this factor sheds much light on the place of injury – i.e., where



7
  Morgan Stanley points to a form request attached to the PSA that lists a California address for
Wells Fargo. MS Br. 15 (citing PSA Ex. G). But that form does not say anything about where
the notes are maintained or by whom.


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the injury to the Trust was felt. The whole point of Maiden’s rejection of the plaintiff-residence

rule for trust cases was that “the use of the residency of the trustee as the sole factor to determine

the place of accrual does not make sense” for a trustee suing to vindicate injuries to the trust.

582 F. Supp. at 1217. That is equally, if not more, true with respect to the trustee’s place of trust

administration. Accordingly, this factor warrants much less weight than the others and cannot

displace New York as the location where the Trust suffered injury.

       In short, this case involves a New York trust governed by New York law that held

mortgage loans for properties nationwide and had no predominant connection to any other

particular state. In those circumstances, the “place of injury” for purposes of the borrowing

statute is New York, and nothing in Barclays suggests otherwise.8




8
  Two other factors that Barclays refused to consider provide still further support. 156 A.D.3d at
403 nn.2, 4. First, all the investment decisions for this Trust were
                                                                                           Pl.’s 56.1
Resp. ¶ 34. The Trust’s injuries are directly attributable to those decisions, so the location of the
decisions is relevant to the place of injury. See, e.g., Bear Stearns Mortg. Funding Trust 2006-
SL1 v. EMC Mortg. LLC, No. 7701-VCL, 2015 WL 139731, at *10 (Del. Ch. Jan. 12, 2015)
(applying New York statute of limitations because trust was created “in New York by EMC and
other Bear Stearns affiliates, all of whom had their principal places of business in New York”).
Second, the certificates representing certificateholders’ interests in the Trust were located in
New York on the Closing Date, when any breach of representations and warranties occurred.
PSA § 7.06 (certificates held in book-entry form by Depository Trust Company in New York
upon issuance); id. §1.01, at 26 (defining “Depository”). That location is also relevant. The
Trust corpus is held “for the use and benefit of the Certificateholders.” PSA § 2.01. The reduced
value of the certificates is thus part of the “injury” for which the Trustee seeks a remedy.
       Given that the place of injury is New York in this case even without regard to these two
additional factors, the Court need not consider them to deny Morgan Stanley’s motion. But
Barclays remains pending on motion for leave to appeal to the Court of Appeals, and that court
may well disagree with the First Department’s assessment of these two factors.


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       C.      Even if California’s Statute of Limitations Were To Apply, There Would Be
               Genuine Factual Disputes over the Timeliness of the Claims

       Even if California’s statute of limitations were to govern, California’s accrual and tolling

rules would preclude summary judgment. The New York Court of Appeals has made clear that,

where courts import a foreign statute of limitations under New York’s borrowing statute, they

must also import “ ‘[a]ll the extensions and tolls applied in the foreign state . . . so that the

entire foreign statute of limitations . . . applie[s], and not merely its period.’ ” Smith Barney,

Harris Upham & Co. v. Luckie, 85 N.Y.2d 193, 207 (1995) (emphasis added); see also Portfolio

Recovery Assoc., LLC v. King, 14 N.Y.3d 410, 416 (2010) (court must “ ‘borrow’ Delaware’s

tolling statute to determine whether . . . [plaintiff] would have had the benefit of additional

time”); Childs v. Brandon, 60 N.Y.2d 927, 929 (1983) (similar). Applying those rules, there are

multiple genuine factual disputes over the timeliness of the claims.

               1.     There Are Genuine Disputes Under the Accrual Clause

       The governing agreements in this case contain an express “accrual clause” that delays the

accrual of the Trustee’s claims until after Morgan Stanley refuses to cure or repurchase a

breaching loan. Specifically, under MLPA § 10, “[a]ny cause of action against MSMCH or

relating to or arising out of a breach by MSMCH of any representations and warranties made in

this Section 10 shall accrue . . . upon (i) discovery of such breach by MSMCH or notice thereof

by the party discovering such breach and (ii) failure by MSMCH to cure such breach, purchase

such MSMCH Represented Mortgage Loan or substitute a qualifying Replacement” within 90

days. MLPA § 10. New York courts have so far refused to enforce such clauses. See Deutsche

Bank Nat’l Trust Co. v. Flagstar Capital Mkts. Corp., 143 A.D.3d 15, 20 (1st Dep’t 2016), leave

to appeal granted, No. APL-2016-00237. But California case law shows that, in a case like this,

California courts would deem a claim to accrue only upon the defendant’s refusal to repurchase.



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       California courts have routinely enforced accrual clauses and analogous provisions that

affect the statute of limitations. See, e.g., Cal. First Bank v. Braden, 264 Cal. Rptr. 820, 821-23

(Ct. App. 1989) (holding that a clause stating that “[g]uarantors waive the benefit of any

limitations affecting their liability hereunder or the enforcement thereof to the extent permitted

by law” was effective to waive the limitations period for four years); Wind Dancer Prod. Grp. v.

Walt Disney Pictures, 215 Cal. Rptr. 3d 835, 851 (Ct. App. 2017) (enforcing clause that

“shortened limitations period with a specified date of accrual”); Brisbane Lodging, L.P. v.

Webcor Builders, Inc., 157 Cal. Rptr. 3d 467, 474 (Ct. App. 2013) (similar). Even absent an

express accrual clause, it is well-settled that, “where a demand is necessary before a cause of

action arises, the statute of limitations does not begin to run until the demand is made.” Kaplan

v. Reid Bros., 104 Cal. App. 268, 272 (1930); see also Leonard v. Rose, 65 Cal. 2d 589, 592

(1967) (where “no time is specified for performance,” “a [party] who has promised to do an act

in the future . . . does not violate his agreement unless and until a demand for performance is

made and performance is refused”); Mansouri v. Superior Court, 104 Cal. Rptr. 3d 824, 831 (Ct.

App. 2010) (similar).

       In Barclays, the First Department opined that, even under California law, an RMBS

trustee’s claims accrue at the time of closing. 156 A.D.3d at 403 (citing Mary Pickford Co. v.

Bayly Bros., 12 Cal. 2d 501, 521 (1939); Meherin v. S.F. Produce Exch., 117 Cal. 215, 217

(1897); and Taketa v. State Bd. of Equalization, 104 Cal. App. 2d 455, 460 (1951)). But none of

the cases the court cited involved an express accrual clause. Moreover, the contract in Mary

Pickford did not involve a demand requirement at all. See 12 Cal. 2d at 507, 521. And in the




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other cases, the plaintiffs knew about their injuries immediately and thus had no justification for

not making prompt demands. See Meherin, 117 Cal. at 216-17; Taketa, 104 Cal. App. 2d at 459.9

       Accordingly, even if California law were to apply, the MLPA’s accrual clause would

make it impossible to resolve Morgan Stanley’s statute of limitations defense on summary

judgment. When, precisely, Morgan Stanley discovered or received notice of the breaches, thus

triggering its 90-day cure or repurchase period and the start of the limitations period, is a

disputed factual issue. Morgan Stanley contends that it never discovered any breaches. Dkt. 145

at 24-25, 54. If the evidence bears that claim out, the accrual clause would not be triggered until

Morgan Stanley received the breach notice from the Trustee on April 4, 2013 and refused to

repurchase all but a handful of breaching loans. Pl.’s 56.1 Resp. ¶¶ 15, 45-46. This suit was

filed well within four years of that date. Thus, California’s accrual rules preclude summary

judgment on Morgan Stanley’s claims even assuming California’s statute of limitations applies.

               2.     There Are Genuine Disputes Under the Discovery Rule

       Genuine factual disputes under California’s discovery rule would likewise preclude

summary judgment. Even for contract claims, California courts toll the statute of limitations

until the plaintiff “knew or should have known of the wrongful conduct at issue.” April Enters.,

Inc. v. KTTV, 195 Cal. Rptr. 421, 436-37 (Ct. App. 1983). Although the First Department in

Barclays held that the claims there “[were] not saved by California’s discovery rule, inasmuch as


9
  Morgan Stanley contends that this Court is “obligated to apply [New York’s] understanding of
California’s statute of limitations.” MS Br. 17. But the case for Erie deference to an
intermediate state court’s legal interpretations is surely diminished when the question involves
the proper construction of another state’s laws. Barclays also observed that, “under New York
law, which . . . governs substantive matters, the contractual provisions for demand under the
repurchase protocol are not conditions precedent to suit for a preexisting breach.” 156 A.D.3d at
403. But if California would enforce the MLPA’s accrual clause, the statute of limitations would
start to run only upon the refusal to repurchase, regardless of how the demand condition is
treated for purposes of substantive New York law.


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the record establishe[d] that plaintiff reasonably could have discovered the alleged breaches

within the limitation period,” 156 A.D.3d at 404, whether the different record in this case

supports such a conclusion is a question of fact for this Court to determine.

       Under California law, “ ‘[w]hether the plaintiff exercised reasonable diligence is a

question of fact for the court or jury to decide.’ ” April Enters., 195 Cal. Rptr. at 437. Here,

there is ample evidence from which to conclude that the Trustee could not reasonably have

discovered the breaches before April 2, 2013, when it received a breach notice from

certificateholders.   The PSA expressly relieves the Trustee of any duty to “make any

investigation” into the quality of the loans. PSA § 10.02(a)(v). And the loan files used to

identify breaches during post-complaint reunderwriting were held by third-party servicers. Pl.’s

56.1 Resp. ¶ 47. The Court could thus reasonably determine that the Trustee was not bound to

discover the breaches before it received the breach notice on April 2, 2013. The Trustee filed

suit well within four years of that date.

               3.      There Are Genuine Disputes Regarding the Failure To Notify Claim

       Finally, whatever the timeliness of the other claims, genuine factual disputes would

prevent summary judgment on the failure to notify claim.          As this Court explained when

reinstating that claim, “notice clauses, unlike cure/repurchase protocols, are independent of the

underlying R&Ws and therefore can be independently breached.” Dkt. 141 at 5 (collecting

cases). The limitations period on that separate claim can only logically start to run when that

separate obligation is breached. See Ely-Cruikshank Co. v. Bank of Montreal, 81 N.Y.2d 399,

402 (1993) (claim accrues at “the time of the breach”). Under the MLPA, Morgan Stanley’s

duty to provide notice did not arise until Morgan Stanley discovered a breach but failed to

provide notice. MLPA § 10. The failure to notify claim thus could not have accrued until after

that date. See Residential Funding Co. v. Acad. Mortg. Corp., 59 F. Supp. 3d 935, 952 (D. Minn.


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2014) (holding that breach of duty to notify “occurred, if at all, after the sale of a loan” and

therefore “the statute of limitations would not begin to run until some later date”).

       This Court has already held that there are genuine factual disputes on that very issue –

i.e., when precisely Morgan Stanley discovered the breaches. Dkt. 145 at 24-25, 54. Morgan

Stanley claims that “[the Trustee’s] theory is that Morgan Stanley was aware of widespread

breaches during its presecuritization due diligence – well over four years before the complaint

was filed.” MS Br. 17. But the Trustee’s purported “theory” is not the relevant standard on

summary judgment. What matters is whether the evidence would support a finding that Morgan

Stanley discovered the breaches only later, after closing and within four years of filing the

Complaint. Plainly, the evidence would support that finding. Among other things, the evidence

shows that

                       . Pl.’s 56.1 Resp. ¶ 42.       Morgan Stanley’s post-closing discovery of

breaches is also evidenced by

       . Id. ¶ 43. The Court could thus readily find at trial that Morgan Stanley discovered

breaches years after closing.10




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   The failure to notify claim is timely for the independent reason that the duty to notify is a
continuing obligation for which the statute of limitations resets with every passing day that
Morgan Stanley fails to provide notice. See Bulova Watch Co. v. Celotex Corp., 46 N.Y.2d 606,
611 (1979) (where party owes a duty of performance over a period of time, limitations period
“run[s] separately for the damages occasioned each time a breach . . . occur[s]”).


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                                     CONCLUSION

      Morgan Stanley’s motion for judgement on the pleadings and renewed motion for

summary judgment should be denied.


   February 15, 2018                          Respectfully Submitted,
   New York, New York


                                              /s/ Steven F. Molo
                                              Steven F. Molo
                                              Robert K. Kry
                                              Justin V. Shur
                                              Lauren M. Weinstein
                                              MOLOLAMKEN LLP
                                              430 Park Avenue
                                              New York, New York 10022
                                              (212) 607-8160 (telephone)
                                              (212) 607-8161 (facsimile)

                                              Attorneys for Plaintiff Deutsche
                                              Bank National Trust Company, as
                                              Trustee for the Morgan Stanley
                                              Structured Trust I 2007-1




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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 15, 2018, I electronically filed the foregoing redacted

Plaintiff ’s Memorandum of Law in Opposition to Defendant’s Motion for Judgement on the

Pleadings and Renewed Motion for Summary Judgment, and the accompanying redacted

Plaintiff ’s Response to Defendant’s Local Rule 56.1 Statement of Undisputed Material Facts and

Plaintiff’s Statement of Additional Facts, as well as the Declaration of Robert K. Kry and its

exhibits, using the CM/ECF system, which sent a notice of electronic filing to all ECF registered

participants, and I caused unredacted copies of the foregoing to be served on counsel of record

for Morgan Stanley via email and Federal Express.



                                                           /s/ Steven F. Molo
                                                           Steven F. Molo
                                                           MOLOLAMKEN LLP
                                                           430 Park Avenue
                                                           New York, New York 10022
                                                           (212) 607-8160 (telephone)
                                                           (212) 607-8161 (facsimile)

                                                           Attorneys for Plaintiff Deutsche
                                                           Bank National Trust Company, as
                                                           Trustee for the Morgan Stanley
                                                           Structured Trust I 2007-1




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